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                   EXHIBIT A
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    ALERT: WINTER STORMS IN THE MIDWEST THROUGH THE NORTHEAST U.S. AND THE PROF…



USPS Tracking
                                 ®                                                                  FAQs 




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Tracking Number:

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     Your item was picked up at a postal facility at 4:11 am on February 3, 2025 in WASHINGTON, DC 20500.




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     WASHINGTON, DC 20500
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